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                         IN THE UNITED STATES COURT OF APPEALS

                                  FOR THE ELEVENTH CIRCUIT
                                    ________________________

                                        No. 20-13368-HH
                                    ________________________

 FINANCIAL INFORMATION TECHNOLOGIES, LLC,

                                                    Plaintiff - Appellee,

 versus

 ICONTROL SYSTEMS, USA, LLC,

                                                 Defendant - Appellant.
                                    ________________________

                            Appeal from the United States District Court
                                for the Middle District of Florida
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 ORDER:

          Appellant’s motion to stay the briefing schedule pending the resolution of the

 jurisdictional question is GRANTED.



                                                              /s/ Andrew L. Brasher
                                                              UNITED STATES CIRCUIT JUDGE
